                                                             THIS ORDER IS APPROVED.


                                                              Dated: June 2, 2020


 1
 2
 3                                                           Brenda Moody Whinery, Chief Bankruptcy Judge
                                                             _________________________________
 4
 5
 6
 7
 8
 9
                          UNITED STATES BANKRUPTCY COURT
10                               DISTRICT OF ARIZONA
11
                                                  Chapter 11 proceedings
12
                                                  Case No. 4:14-bk-02659-BMW
13    In Re:
14    Meeks Maintenance &
         Construction, LLC,
15
                                                      FINAL DECREE AND
16          DEBTOR IN POSSESSION
                                                      ORDER CLOSING CASE
17
      _____________________________|
18
19
20          Meeks Maintenance and Construction, LLC, the reorganized Debtor in
21    Possession in the above captioned case in which a plan of reorganization has
22    been confirmed, has moved this court for entry of a final decree and for
23    order closing the administrative case. Docket 139.
24          Pursuant to 11 U.S.C. §1101(2), and F.R.Bk.P. 3022 and applicable
25    case law, the Court finds as follows:
26          a. The order confirming the plan of reorganization is final;
27          b. The ongoing payments required by the plan have been made;
28          c.   The debtor continues to operate its licensed enterprise; and

                                              1


     Case 4:14-bk-02659-BMW    Doc 150 Filed 06/02/20 Entered 06/03/20 08:42:21         Desc
                                Main Document    Page 1 of 2
 1          e.   All contested matters in the administrative case have been
 2          finally resolved.
 3          This order is appropriate because the chapter 11 plan has been
 4    substantially consummated, and the administrative bankruptcy case has
 5    been fully administered pursuant to 11 U.S.C. 350(a), 1101(2) and
 6    F.R.Bk.P. 3022.
 7          There have been no adversary proceedings filed in this case.
 8          The court has considered the declaration of managing member Teri
 9    Meeks in support of this order [docket #140 ] and notes all parties in
10    interest have been served with the debtor’s motion for final decree and no
11    objections thereto have been filed, timely or otherwise.
12          Good cause appearing,
13          IT IS HEREBY ORDERED that a final decree be and the same is hereby
14    entered in this case, and
15          IT IS FURTHER ORDERED that this case is closed.
16          DATED AND SIGNED ABOVE.
17
18
19
20
21
22
23
24
25
26
27
28

                                             2


     Case 4:14-bk-02659-BMW     Doc 150 Filed 06/02/20 Entered 06/03/20 08:42:21   Desc
                                 Main Document    Page 2 of 2
